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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK



    DROPCASES, LTD.,
                              Plaintiff,
                     v.

    THE PARTNERSHIPS AND                                       Case No. 24-cv-02589-JLR
    UNINCORPORATED ASSOCIATIONS                                JURY TRIAL DEMANDED
    IDENTIFIED ON SCHEDULE “A”

                              Defendants.

          NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Dropcases Ltd. (“Plaintiff”), by and

   through its undersigned counsel, hereby voluntarily dismisses this action WITHOUT PREJUDICE

   as to the following Defendant:

    Nos.                  Seller Alias         Defendant Name          Amazon Seller ID

    118                   ENA                  Aceon-Bright, Inc.      A1PS96CG2U31BM


           Prior to the filing of this notice, Defendant has yet to file an answer or motion for summary

   judgment.



   Dated: June 11, 2024                          Respectfully submitted,

Defendant Aceon-Bright, Inc. is dismissed        /s/ David A. Boag
without prejudice. The Clerk of Court is         DAVID A. BOAG
respectfully directed to terminate Aceon-        BOAG LAW, PLLC
Bright, Inc. from the docket.                    447 Broadway, Suite 2-270
                                                 New York, NY 10013
Dated: June 13, 2024                             dab@boagip.com
       New York, New York
                                                 Attorneys for Plaintiff Dropcases, Ltd.




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